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                     IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                               HARRISBURG DIVISION

 JUDICIAL WATCH, INC.,

                       Plaintiff,
                                                Civ. Action No. 1:20-cv-00708-CCC
        v.

 COMMONWEALTH of
 PENNSYLVANIA, et al.,

                      Defendants.
                     DECLARATION OF ROBERT D. POPPER

       Robert D. Popper, for his declaration, pursuant to 28 U.S.C. § 1746, deposes

and says:

       1.      I am an attorney representing Plaintiff Judicial Watch, Inc. in the above-

captioned matter. I make this declaration in opposition to the motion of the County

Defendants to file a late brief in support of the pending motion for intervention.

       2.      Attached hereto as Exhibit 1 is a true and correct copy of the June 8,

2020 email exchange between counsel concerning County Defendants’ request to

file a late brief.

       3.      Attached hereto as Exhibit 2 is a true and correct copy of the complaint

and attached exhibits filed in Pub. Interest Legal Found., Inc. v. Winfrey, No. 2:19-

cv-13638 (E.D. Mich. Dec. 10, 2019).
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      I declare under penalty of perjury that the foregoing is true and accurate.

June 9, 2020                                 /s Robert D. Popper
                                             Robert D. Popper
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                          CERTIFICATE OF SERVICE

      I certify that the foregoing declaration with all exhibits was filed electronically

and served on counsel of record via the ECF system of the U.S. District Court for

the Middle District of Pennsylvania.


June 9, 2020                                   /s Robert D. Popper
                                               Robert D. Popper
